                                                                               CLERK'
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                                                                                   JU    C.DUDLEY LERK
                               H ARRISO N BU RG D IW SION                         sv, %
                                                                                      (e j         .x.
C AREY H IXSO N ,

       lalldtltiffy

M.                                                     CivilAction N o.: 5:17-CV-032
                                                                         5:18-CV-001

BRYAN H U TCH ESO N ,eta1.,                            By:    M ichaelF.U rbansldy
                                                              ChiefU.S.DistrictJudge
       D efçndants.

                                M EM O M N D U M O PIN ION

       PlaindffCareyHixsonrfl-lixson'),aninslllin-dependentdiabedc,allegeshewas
deniedinsfplinwhileincrceratedattheHatrisonburg-Rocldngham Regionallail(fCHILRJ''),
giving rise to avioladon ofllisEighth Am endm entrightsand a state-law clnim ofgross

neglkence.Hixson'sSecondAmendedComplaintforMonetaryDamages,ECF No.125,
raisestheseclnimsagninstDefendantDr.MichaelMoran (<fDr.Moran'),thedoctoratHRRJ
dlpting H ixson'sincarceradon.Thism attercom esbefore thecotuton D z.M otan'sM odon

forSllmmaryludgment.ECF No.189.Forthereasonsgiven below,thecourtGRANTS
them odon.

                                                 I.1

       H ixson w asfttstdiagnosed with type 2 diabetesin Apdl2015 dllting a hospitalizadon

atRockingham MemorialHospital(<<ltMH').ECF No.199-5,at49.Dlzringthesame
hospitalstay,hewasalso diagnosed with m ethamphetam ine-induced psychosis,


1Thefactsoftliscaseareslxmmazizedbelow and,consistentwiththes'ammaryjudgmentstandard,arevieweditzthe
lightmostfavorabletoHixson.SeeWalkerv.Mod-u-lfraftHomes.IZC,775F.3d202,205n.1(4thCir.2014)(ddng
FDICv.Casllion,720F.3d169,173(4thCir.2013)).


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polysubstance abuse,and alcoholabuse.Id.A consultadon noteby aphysician on April26,

2015 recorded thatH ixson had allistoryofinterm ittentblurryvision and patesthesiasofthe

hand and feet.JIL
              -.




      Dt.M otan wastlaem edicaldoctotfotinmatesatHILRJdllting Hixson's
incarceradon.ECF N o.199-3,at5.H ewasem ployed by Rockingham County to provide

medicalcareto theinmates.J.Z at6.Hixson entezedHRRJon August23,2016 and was
released onlanuary29,2017.ECF No.199-2,at31.Upon entry,I'Iixson wasseen bya
nonpartyintake nurse.ECF N o.199-3,at7-8.H einform ed herthathehad type 1,inslllin-

dependentdiabetes,buttheintakenursew asunableto congf'm the diagnosis,despite faving

arecotd requestto Hixson'sm edicalptovider.Id.Dr.M oran tesdfied thatthem edicalteam

atHRRJwasunableto obtain Hixson'smedicalhistorybecauseffwhen D xson)signed his
release form ,hewrotedo notrelease m entalhealth inform aéon,''and H ixson'sdiagnosisof

diabeteswasm adeduring llisstay in thepsychiatdc unitofRM H .ECF N o.199-2,at8.

Policy dictated thatanurse repeattherecord tequestifahealth ptoviderfailed to respond

within 24 holzrs.ECF N o.199-4,at10.Ifthe providersdlldid notrespond within 24 houts

ofthe second tequest,policy tequired thatthe nutsecallthephysician forordersand

docllm entthatno tecordswereeverreceived.1d.W hilethe odgm
                                                         ' alrecord requestto

Hixson'sproviderwasm ade,no evidencehasbeen elicited showing arepeatrequestw as

m ade orthatD r.M oran wascontacted regarding tlae failureto secuterecords.LI.
                                                                             L

      D r.M oran reviewed theinform aéon taken by theintakenlzrseand placed H ixson on

a diabetk diet.ECF N o.199-2,at8.H ealso ordered H ixson'sblood sugarlevelsbe tested

every day.J-da.Forthe flrstfourm onthsofllisincarcetation,Hixson'sblood sugazreaflings

                                           2
Case 5:18-cv-00001-MFU Document 15 Filed 01/23/19 Page 2 of 18 Pageid#: 83
wetevatiable,with som e norm aland som e elevated scotes.zSeeECF N o.113-12,at18-22.

Hixson'sSeptemberreaclingsranged from alow of94mg/x on September24,2016to a
high of157mg/dL on Septembet22,2016.LdaLikewise,itlOctober,llislow readingwas
118mg/dL on October3,2016andltishighreadingwas169mg/K on October5,2016.
J.Z N ovembet'szeadingscteeptdup,butzemainedve able,from a1ow of137mg/dL on
N ovember25,2016to ahigh of239mg/dtaon November3,2016.LdaDecember's
readings,whilehkher,stillfluctuated from 118mg/dL onDecember24,2016to277
m g/dtaonD ecember7,2016.J.Z Hixson'sblood sugarvaluesretained thisvatiabilityin
Januaty 2017.idaOn threedaysthatmonth,January21,24,and 28,Hixson'sBvicedaily
reaclingswetem orethan 100pointsapart.JA

        Hivson also began occasionally tefusing tesdng,cllim ing apptehension in interacting

with N urseK atherideRaynesafteraconfrontadon with heroveritw 11in.3ECF N o.199-2,at

34.D r.M oran teviewed theblood sugarreadingson aw eeldy basis,asindicated by llis

inidalsin Hixson'sm edicalrecord.ECF N o.199-4,at13.ln responseto the higherteadings,

Dr.Moran ordered thatthebloodsugattestsbeperformedtwicedailyinlanuary2017,but
atno pointclid D z.M oran prescribe Hixson any typeoforaldiabetesm eclicadon oritw nlitn

injecdons.ECFNo.199-2,at23.W hileHixson clnimshe.repeatedlyaskednursingstafffor
insulin,nothing in tlnerecord indicatesthatH ixson reported any sym ptom sofelevated

blood sugarto eithera nurseorD r.M oran.Indeed,H ixson w asseen byD r.M otan on


2OfficialpolicyatHRW setanormalfastingbloodsugarrangeof60-110mg/dtz.ECFNo.112-12,at6.'I'     heAmerican
DiabetesAssociadon suggestsatargetrange'of80-130mg/dta.AmezicanDiabetesAssociation,Checlrin YourBlood
Glucose,(lasteditedOct.9,2018),ho ://iabetes.org/ne g-Gi-iabetes/teaa ent-and-care/blood-glucose-
conûol/checkl 'ng-your-blood-glucose.html.
3Nuzse Raynesvaguely rem em bersthe confrontadon butdoesnotrem em berifH ixson requested inslxlin.ECF N o.199-
4,at15.
                                                     3
Case 5:18-cv-00001-MFU Document 15 Filed 01/23/19 Page 3 of 18 Pageid#: 84
Septem ber29,2016 and did notzelateany sym ptom sofordiscussdiabetes.E CF N o.199-2,

at35.N ozdid I-lixson Slean ofik ialgrievance orcom plaintasking forinsulin ozany other

form ofdiabetestreatment.JA
        H ixson flled hisoriginallaw suiton M atch 31,2017 againstDr.M oran and vadous

otherdefendantswho havesincebeen disnaissed.4ECF N o.1.Hixson allegesthe following

causesofacdonagainstDr.Moran:(1)Dt.MoranviolatedHixson'sffzighttobefreefrom
deliberateindifferenceto lnisknown seriousm edicalneed forcliabeécm edicadon

(pzescriptionorotherwise)totteatlaisknown,medicallydiagnosedcondidonofdiabetes,J'
ECF No.125,at38;and (2)Dr.Moran commiledmedicalmalpracdce,astatelaw clnim
wllich hasbeen disnnissed to the extentitsoundsin negligence,zatherthan grossnegligence.

ECF N o.125,at38;ECF N o.167.H ixson also seekspurliéve dam agesand attorneys'fees,

premised on theliabilityunder42U.S.C.j1983againstDr.Moran.ECF No.125,at45.
                                                    II.

        PursuanttoFederalRuleofCivilProcedute56(a),thecourtmustffgrantsummary
judgmentifthemovantshowsthatthezeisnogenllinedisputeastoanymaterialfactand
themovantisendtledtojudgmentasamatteroflam''Fed.R.Civ.P.56(a);CelotexCo .v.
Catrett,477U.S.317,322(1986)9Glnnv.EDO Co .,710F.3d209,213(4thCir.2013).
W hen m aking thisdeterm inadon,the courtshould considettftllepleadings,deposidons,

answersto interrogatodes,and adrnissionson file,togetherwith...gany)afidavits'?fzed by

4Hixson'soriginalcomplaintbroughtclnimsagainsttwoTqohnDoe''nutses.ECFNo.1.Onlanuaty3,2018,Hixson
ftledHixsonv.Ranes,5:18-cv-001-MF?U,whichbroughtcllimsagainstRaynesandlanelleSeekford,anotherntuseat
HRRJ.AstllissecondacdonbroughtidendcalclnimsagainstRaynesandSeekfordaswere&stbroughtagainsttheDoe
 nursesand alleged thesam e factsalleged in Hixson'sodgitzalcomplaint,itwascleazfrom the face oftheRa nes
 complaintthatRaynesand Seekford aze,in fact,theD oenursesnam ed in Fsxson'soziginalcomplaint.ECF N o.94,at6.
'Ihe cout'
         tthusconsolidated thetwo cases.ECF No.95.O n N ovem ber19,2018,Raynesand Seekford were clismissed
 asdefendants.ECF N o.198.

                                                     4
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the pazdes.Celotex,477 U .S.at322.W hethera factism aterialdepends on therelevant

substandvelaw.Andersonv.LibertyLobby,Inc.,477U.S.242,248(1986).ffozzlydisputes
overfactsthatnzightaffecttheoutcom e ofthe stlitunderthegoverning 1aw willpropezly

precludetheentc ofsummaryjudgment.Fact'ualdisputesthatareirrelevantorunnecessary
willnotbecounted.''J-I.
                      L(citaéonomitted).Themovingpartybearstheinidalbtudenof
dem onstradng theabsenceofa genuineissue ofm aterialfactand m ay prevailby showing

Tfan absence ofevidence to suppott''an essentialelem entofthe nonm oving pazty'scase.

Celotex,477 U .S.at323.Ifthatburden hasbeen m et,thenonm oving partym ustthen com e

forward with specifk m atedalfactsthatptove thereisagenliinedisputefortrial.M atsushita

Elec.Indus.Co.v.ZenithRadioCor .,475U.S.574,586-87(1986).
         In determ ining whether agenllineissue ofm aterialfactexists,the courtviewsthe

factsand dtawsallreasonableinferencesin thelightm ostfavotable to thenonm oving partp

czl
. -y-lm,710F.3dat213(citingBondsv.Leavitq629F.3d369,380(4thCir.2011)).Although
fftheevidenceofthenonmovantistobebelieved,andalljusdhableinfetencesatetobe
drawn in lnisfavor,'''M cAitlaids Inc.v.Iiim berl -clark Co .,N o.13-2044,2014 W L

2871492,at*1(4thCir.2014)(internalalteradonomitted)(citingTolanvs-cotton,134S.Ct.
1861,1863(2014)(percllri/mll,ffgtjhemereexistenceofascintillaofevidencein supportof
thegnonmovant's)position willbeinsufficient''to overcomesummaryjudgment.Anderson,
477 U .S.at252.Rather,agenlxineissue ofm atetialfactexistsonly Tfifthereissuffkient

evidencefavodngthenonmovingpartyforajurytoyeturnaverdictforthatpattp''Res.
BanksharesCo .v.St.PaulMetc Ins.Co.,407F.3d631,635(4thCir.2005)(quodng
Anderson,477U.S.at249).ffln otherwotds,to grantslxmmatyjudgmentthegclourtmust

                                             5
    Case 5:18-cv-00001-MFU Document 15 Filed 01/23/19 Page 5 of 18 Pageid#: 86
deter inethatnoreasonablejtzrycolzldSndfo:thenonmovingpartyontheevidence
beforeit.''Mossv.ParksCo .,985F.2d736,738(4thCir.1993)(cidngPetiniCo .v.
PeriniConst,Inc.,915F.2d121,124(4thCir.1990)).
                                           111.

      CountIallegesaviolaéon ofH ixson'sEighth Am endm entm ghtsputsuantto 42

U.S.C.j1983.To stateaclmim underj1983,aplaindffmustallegethevioladon ofadght
secuted by the Consétution orlaw softheU nited Statesand m ustshow thatthedeprivation

ofthatrightwascom m itzd by aperson acdng undercolorofstate law.Crosb v.Ci of

Gastonia,635F.3d634,639(4thCir.2011)(cidngW estv.Atkins,487U.S.42,48(1988)).
To prove an Eighth Am enclm entvioladon,Hixson mustshow thathe suffeted a suffkiently

setiousdeprivadon and thatD r.M oran acted with Tfdelibetateindifference''to hishealth or

safety.Fatmerv.Brennan,511U.S.825,834(1994)(citadonsonaitted).Thisisatwoprong
test,withthefust,Tfobjecdve''prongreqllitingademonstradonofthesedousnessofthe
deprivadonandthesecond,ffsubjecdve''prongreqllitingashowingofthedefendant's
Tfsufhciently ctzlpable''state ofmind.Fnt-m er,511U .S.at834.

                                           A.

       Asastarting point,Hixsonmustmeettheobjectiveprong oftheFatmertestby
raisingagenuinequeséonofmaterialfactthatfçthedeprivadonalleged gwas),objecdvely,
fsufficientlyserious.'''Fnfvner,511U.S.at834 (quodngW ilsonv.Seiter,501U.S.294,298,
(1991)).Ultimately,thedeprivation mustbeffextreme'7- meaningitmustposeTfaseriousor
signiikantphysicaloremotionalinjuryresultingfrom thechallengedcondiéons,''or<<a
substanéaldsk ofsuch seriousharm resuldng from ...exposure to the challenged


                                            6
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condidons.''De'Lontav.An elone,330F.3d630,634(4t.
                                                hCit.2003)(internalquotadon
m arksand citaéononaitted).Inm edicalneedscases,likethecaseathand,theFarmertest
reqlliresplaindffsdem onstrateofficials'deliberateindifference to a ffserious''m edicalneed

thathaseither'fbeen diagnosed by aphysician asm andadng treau entor...isso obvious

thateven a lay pezson would easilyzecognizethe necessity fota doctoz'sattendon.''lko v.

Shreve,535F.3d225,241(4thCir.2008).
       Hixsonwasdiagnosedwithtype2diabetespriortohisincarceraéonatHILRJ.ECF
N o.199-5,at48-50.A tthattim e,hewasprescribed M etfotm in,Lanm s,and H um alog to

managethecondiéon.Ld.aat58.Upon l'
                                 tisarrivalatHILRJon August23,2016,Hixson
inform ed theintakenurse thathewasdiabeticand had been prescdbed these m edicadons.

ECF No.199-3,at9-11.Asstatedabove,thiswasnevetconf= ed.1i.Dr.M oran reviewed
thisinfonnation,placed H ixson on adiabedc(Iiet,and ordered daily testing ofllisblood

sugarlevels,butdid notprescribeinsulin orany othertype ofm edication used to treat

diabetes.LdaDt.M oran saw Hixsoninperson onlyonceduringlnisincarceradon---on

Septem ber29,2016,when Hixson requested a physician visitfortrea% entofback pain and

high blood pressute.ECF N o.199-2,at48.H ixson did notcom plain ofany sym ptom s

zelated to diabetes,nordid he m ention his(Iiabetesto D r.M oran duritzg the appointm ent.

Onlanuary 19,2017,afterHixson'sbloodsugatlevelsbegan torise,Dz.Moran otdered
Hixson'sblood sugarbe tested twice aday,butstillpresctibed llim no m edication.ECF N o.

199-3,at23.

       W hen aj1983 cl/im fozinadequatemedicaltzea% entinvolvesacomplicatedhealth
condidon,experttestimonyisrequitedtoshow proofofcausadonofinjurp Edwatdsv.


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Graham Cty.Jail,No.1:16-CW 315-FDW ,2017W.
                                         L5894496,at*6(W .D.N.C.Nov.29,
2017).Hixson allegeshesuffered pain,discomfortand fearwhileincatceratedand sevete
im pnit-m entoflzisffboclily funcdons''asaresultofthe m onthsspentwithoutm edicadon.

ECF N o.125,at18.H ereliesupon Dr.CarolRupe ashisexpeztwitnessand assertsthather

tesfim ony show she suffered sufficiently sezioushst'm .

       D r.Rupe testihed thatatype2 diabeécwilltypically require elevated blood sugar

levelsfor 15-20 yearsbefore sustaining dam age to internalorgans,retinopathy,or

neuropathy.ECF N o.199-5,at53-54.Itisundisputed thatH ixson spentonly five m onths

it'
  lHILRJunderDr.M ozan'scate.In addiéon,therecord isunclearasto how long Hixson
had suffered from diabetesbefore hisofhcialdiagnosisorto whatextentllissym ptom s

predatelésincarceration.M oreover?Dr.Rupetestzed thatshecolzldnotbecertain that

HixsonhassufferedorwillsuffetanydamageorinjurybecauseofthedmespentatHILRJ
withoutm edicadon.ld.at47,at52-54.

       Atoralargtzm entaH ixson conceded thattherew asinsufficientevidence oflong-term

permanentinjurybutcbimedhesufferedshort-te= seriousitjutyinthefot'm of
discomfortapain,and fear.In hisdeposidon,Hixson syatçd thatwhileincatcerated atHRRJ,
he had Tdclouded'?vision,neuropathy,and dngling and pain irllnisfeet,ECF N o.199-2,at14,

although thereisno evidencethathevoicedthesesymptomstomedicalstaffatHRRJ.
Colzrtshavefound thatpermanentphysicalimplitxnentisunnecessaty to show an injury
sufhcientto consdtazte sedousharm undertheEighth Am endm ent.SeeEasterv.Powell,

467F.3d459,464-65(5thCir.2006)rfEvenifgtheplaindfflfailedtostateanEighth
Am endmentvioladon with regard to thedelayin medicaltreatment...ghelclearly stated an


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EighthAmendmentviolationwitlazegardto theseverechestpainhesuffered...'')(holding
thatpain suffered wllilewaiting fotttea% entissufhcientto state an Eighth Am endm ent

violadon).
      A sD r.M oran pointsout,som e ofthe sym ptom sdescribed by H ixson and D r.Rupe

pzedateHixson'sHmeinjailandthuswezenotcausedbytheclnimedfailuretomedicate
whileatHRRJ.ECF No.199-5,at50.Also noteworthyisHixson'ssix-month delayin
seekingmedicalcateafterlaisJanuary29,2017release.ECF No.199-5,at109-11.Rule56,
however,doesnotrequirethatthenon-m ovant'scasebewithoutflaw ordoubt.Itrequires

only thatthe facts,w hen viewed in thelightm ostfavorable to the non-m oving party,zaise a

genlline queséon ofm aterialfact.W hile the factsadduced leavem any quesdonsunanswered,

the colzrtfindsthatH ixson presentsenough evidence suppotting hisposidon to pet-mita

reasonablejurytofindhesufferedaserious,albeitshort-lived,hnt'm.
                                           B.

      HavingmadeashowingsufhcienttomeettheRule56standardastotheobjecdve
seriousnessofthedeptivadon suffeted,H ixson m ustnow m ake ashowing thatD t.M oran's

subjectivementalstatewasthatofdeliberateindifference.Deliberateindifferencereq,lires<<a
lligherdegteeofcliszegard than m ere negligence.''Fnt-m er,511 U .S.at837.A prison offkial

ffm ust130th beaw ate ofthe factsfrom w hich theinfetencecould be drawn thata substandal

risk ofhnl'm exists,and hem ustdraw thatinfetence.''Bricev.Vit ' 'a Beach Correcdonal

Center,58F.3d 101,105 (4th Cir.1995).Thisshowing requiresffmorethan m ere
negligencey''though fdlessthan actsoromissionsgdone)fortheveryptzm oseofcausing
hsrm orwith knowledge thatharm V IIresult.''Fstm er,511U .S.at835.The standard fTlies



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somewherebetweenneglkenceandpurposeorknowledge:namely,recklessnessofthe
subjecdvetypeusedincriminallam ''Bdcev.Va.BeachCoêr.Ctr.,58F.3d101,105(4th
Cir.1995).
      D r.M oran arguesthatnothing in the record show shew asdeliberately indifferentto

Hixson'sseriousmedicalcondidon.TosadsfythesubjecdvepzongoftheFntmertest,
H ixson would have to show thatD r.M oran knew Hixson'sblood sugatreadings

represented asubstandalrisk ofharm whileH ixson wasunderhiscare,and yettook no

acéon.See Farm er,511 U .S.at837.D r.M oran arguesH ixson cannotshow this,asnothing

in the record indicateseithersuch a state ofm ind orsuch inacion.The cout'tagrees.

      W hile Dr.M oran did notprescribeins'plin orany othertype ofm edicadon for

H ixson,hestated radonalm edicalreasonsfotnotdoing so.Dr.M oran stated that,because

H ixson'sblood sugarreaclingsvaded,an insulin prescripdon could have1ed to hypoglycemia

iftaken while levelsw ere low .Tlnisreasoning,com bined w1t.
                                                           11thediabedc dietand daily

blood tesdng,issufhcientto show thatD r.M ozan wasnotdeliberately indifferentto

Hixson'sconclidon.SeePetersonv.Davis,551F.Supp.137,146(D.Md.1982)rfgtjhemete
failuzeto tteatallm edicalptoblem s...even ifthatfailuream ountsto m edicalm alpracdce,is

insufhcientto supportaclsim underj1983':).
       Dr.M otan'sexpertwitness,D :.RoseSuaava,opined thatthe decision notto

aHm inisterinslzlin w asreasonable,given thevariable natute ofH ixson'sblood sugarteaclings

and weightduring llisincarcetadon.ECF N o.190-9,at3.H ixson'sexperq D r.Rupe,

countezsthatD r.M oran saw Hixson'szising blood sugarreadingsand took no acdon.She

cbim sthatincteased testing isnottreatm entand thatHh son'sblood sugatlevelscalled for



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theuse ofinsulin.ECF N o.199-5,at76.In hetopinion,D r.M oran should haveprescribed

insulin forHixson beginninginD ecember2016.J.daat102.Clearly,Dr.Rupe,Dr.M oran,
and D z.Suaavadisagtee asto whatwastheproperway to handle Hixson'srising blood

sugar.D eliberateindifference,how ever,zequiresthatthe treatm entgiven dfbe so gtossly

incom petentoinadequate,ozexcessiveasto shock the conscienceoz...beintolezable to

fundamentalfaitness.''Mildetv.Beorn,896F.2d848,851(4thCit.1990).NegEgence,
m alpracdce,orincorrectdiagnosisdo notalone giverise to avioladon ofthe Eighth

Amendment.Ld.aThataprisonerdid notreceivethettea% entdesired doesnotconsdttzte

delibezateindifference,notdoesdisagreem entbetween t'wo medicalprofessionals.1d.See

Iacksonv.Lightsey,775F.3d170,178(4thCir.2014)(statingthatapdsondoctor's
treatm entdecisionscould be Tfgravely''m istaken and disagteew1:.
                                                                1'1a fotm erdiagnosisand

prescribed treatnentplan by an outside specialistwithoutrtm ning afoulofthe Eighth

Am endment).Instead,Hixson mustshow thatDr.M ozan failed toprovidecarehehimself
felttobenecessary.1d.rf...adoctor'sfailtzretoprovidecarethathehimselfdeems
necessary to tteatan inm ate'sseriousm edicalcondidon m ay consdtazte deliberate

indifference.').
      Thezecotd givesno evidence thatthisoccutred.D r.M oian reviewed H lson'sblood

sugarreaclingsand found them too variable to prescribeinsulin.D r.Rupe looksatthese

sam e num bersand com esto adifferentopinion.A Ending ofdeliberateindifference does

notfollow from a disagteem entbetween m edicalprofessionals.The couttalso notesthatthe

record providesno evidence D r.M otan wasaware Hixson wassuffedng any sym ptom sof

iligh blood sugar.H ixson reportshe suffered clouded vision and pnin and dngling in lnis



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extremides,buthe nevercom plained ofany such sym ptom sto Dr.M otan when hem etwith

him .W hileH ixson stateshe asked nurses forinslllin,there isno evidence thathe

com plained to them ofsymptom sw arrandng m edicadon.Indeed,N m se Raynestestz ed in

herdeposidon thatshebelieved H ixson to beasymptom atic forthe entitety ofllis

incazceradon.ECF N o.199-4,at49.Fllrfhet,given thevatiability ofH xson'sblood sugaz

readings,D r.M otan wasconcerned aboutan insulin overdose.Them edicalstaff'sbeliefthat

Hixson wassuffering no sym ptom sofhigh blood sugatand theunpteclictability ofH ixson's

bloodsugatlevelsfatallyundetnainesanyinferenceofthenecessarysubjecdvementalstate.
       80thpatdeshaverefezencedScintov.Stansber ,841F.3d219(4th Cir.2016),in
theirbdefs.H ivson arguesthe Scinto factsareon pointwhileD r.M oran drawsdistincdons

betwqen thetwo sitazadons.In Scinto,a form erfederalpdsonerbtoughtsuitar instseveral

federalprison offkialsalleging thata prison doctorviolated llisEighth Am endm entrightsby

denying him insulin to treathistype 1,inslllin-dependentdiabetes.1d.at225.Upon hisentry

into prison,pbintiffw asitnidally prescribed insulin accorcling to a sliding scale ofblood

sugarrealings.J.
               i W hen thisprescripdon ptovedinsufficientto conttolplnintiff'sblood

sugar,herequestedasupplementalinjecdon from theprisondoctoz.ld.at227.Because
plaindffwasTfangzy''attheHm e ofthisrequest,the doctorte= inated plaindff'svisitand

declined to providehim with insulin,instead lim iting hisprescripdon signihcantly.J1LAftez
                                                                                     -.




severalmoresimilarincidents,plnintifpshemoglobinA1C levelsrosefrom 7 (within the
notmalrangefordiabetics)to 9.8(anunhealthyscore).Ld.zat228.Pbindffalso suffeted
dam ageto lliskidneys,eyesight,nervoussystem ,and psychologicalw ellbeing.Ld=The court
                                                                                .




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ruled thatpbindffhad adduced enough factsshowing deliberateindifference to survive

defendant'smodonfotslpmmatyjudgment.Ldaat230.
      Hixson atguesthatthe Scinto decision com pelsdenialofDr.M oran'sm odon.Scinto,

how ever,wasdecided on very differentfacts.Fitst,theprison doctorin Scinto wasw ell

aw are ofplaindff'ssetiousm edicalcondidon and had pzesctibed an insulin zegl
                                                                            'm en under

wllichplaintiffwastoteceivesupplementalitjecdonswhenllisbloodsugarreachedacertain
level.1d.at229.Flzrthermore,plnindff'sTflengthypdsonmedicalrecordsshowged)thathis
diabetesdiagnosiswasflongstanding,pervasive,well-doctunented,gand)exptesslynotedby
prisonofficialsy'includingbygtheprisondoctotjlnimself.''1d.(quotingParrishexrel.Leev.
Cleveland,372F.3d 294,303(4th Cir.2004)).Asnoted bytheFourth Circuitin Scinto,the
pdson doctortheteT<diszegardgedjllisown presczipdon designed tomanagegplainéff'sq
condition,''idaat229,because he wasffan angryand hostilepadent.''ld.
      H ere,in contrast,tlziscasebol
                                   'lsdown to a disagreem entasto treatnentbetween

H ixson and Dz.M otan.W hile H ixson allegeshe shotzld havereceived m edicadon,D r.

M ozan chose to m onitorhisblood sugarand treathisvariablereadingswith diet.D r.M oran

tesdûed abouttheHsksofproviclinginslllin to apadentwith such vatiable blood sugar

readings.W hen H ixson'sreadingsrose,D r.M oran ordered twice dal
                                                                'ly testing,agnin

recognizing signifkantvariabilityitlthedaily readings.Underthe circum stances,D r.M oran's

care ofHixson and hisdecision to m onitorhisdiabetesand treathim witladietratherthan

m edicaéon cannotconsém tedelibetateindifference.D r.M oran'sdaily m onitoring of

H ixson'sblood sugatteadingsshow sthathew asnotdeliberately indiffezentto Hixson's

meclicalcondidon.Thesefactscannotshow eithersubjecdveawatenessofasignifkantdsk


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oradeliberateinclifference to thattisk.5The courttherefore GR AN T S the m odon for

summaryjudgmentandDISM ISSESCount1.
                                                     IV.

        TheVirgirziaSupremeCourthasde:nedgrossneglkenceasadfdegreeofnegligence''
whichshowsffsuchindifference''astoTfconsdttzteg)anutterdisregardofprtzdence
amoundngtothecompleteneglectofthesafetf'ofanother.Fer sonv.Fer son,212Va.
86,92,181S.E.2d648,653(1971).Tlzisdegzeeofnegligencemustbesuchaswouldshock
fair-m inded people,though itneed notconsdttztewiIIfUIrecklessness.K offm an,574 S.E.2d

at60.Gtossnegligencereqppitesanobjecûveinqtur
                                            'y;thedefendant'sbehaviormustbe
com pazed to thatofa sim ilarly sim ated,hypothedcalKfreasonable''person.Co a ev.

Mann,906F.Supp.1025,1049(E.D.Va.1995).W hetherbehaviorconstitm esgross
negligenceisusuallyaquesdonoffact,leftforthejurytoanswer.Geddchv.FairfaxCoun
De t.ofFamil Servs.,282F.Supp.2d439,475(E.D.Va.2003).
        Though the standazdsofdeliberateindifferenceand gtossneghgenceare closely

related,cotzttsdo draw disO céons.Gtossneghgenceisaslightlylower standard,lacldng the

subjecévecomponentofdeliberateinclifference.Coppagq,906F.Supp at1049.Unlike
delibetateindiffetence,grossnegligencedoesnotzequitea fincling thata defendantknew of

asubstanéalrisk.Id.Itisenoughthatthedefendantshoulbhavebeenawareofthatdsk.Id.



5Inasupplem entalpleadingfollowitzgtheheadng,Hixsonasksthecourttofocuson certaitzdeposidontestim ony.ECF
No.215.Thistesrimonydoesnot$verisetoagen'xineissueofmatezialfactastodeliberateitzdifference.WhileHt
                                                                                                  'xson
describesexperiencingblurryvisionandpaitzinlzisfeetwhileinHRRJ,ECFNo.199-2,at14,hedoesnotcbim tohave
reported thistoanttrseorD r.M oran.Sim ilarly,Dr.Rupedesczibed Hixson'sblturyvisioninherdeposidon and
idendEed thisasa symptom ofelevated blood sugarlevels,ECF N o.199-5,at50,99,butoffered no testim ony
establishingthatanymemberofthemedicalstaffatHRRJwasawareofthesesymptoms.Thesefactsdonotraiseany
infezence thatDr.M oran wasawaze ofa seriousdsk to H ixson'shealth.



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      Asdiscussedabove,duringhisintakeHixsontoldthenurseatHILRJthathewasa
type 1,inslllin-dependentdiabeéc.D r.M oran stated he decided notto m edicate paréally

because fftheinform adon given by an inm ateisstadstically proven to som etim esbenot

totally correct.''ECF N o.199-3,at10.D r.M oran thereforerequiresa confitm adon through

m edicaltecozdsofaprisoner'sdiagnosisbefozepresczibing m edicadon.Id.Dz.M ozan w ent

On to say:

              And had I have autom adcally placed M r. Hixson on the
              m edications he said he was on,ifw e look at his blood sugats
              during hisfltsyfew daysatthe jail,Ithink we wotzld be sitling
              here having a diffetentdeposidon when Ioverdosed M r.H ixson
              on insulin that lnis body didn't need. So, no, I clid not
              automaécally place him on medicadon justbecause he said he
             w as on it because I'm responsible for them bot.h for treating
             diseasethey haveand fornotcausing any dam age.

I.
 I.
  J.Dr.M oranthereforeplaced Hixson on adiabeticdietandordered dailychecksofhis
blood sugarlevel.Id.

       In D ecem ber2016,H ixson'sblood sugatlevelsrose;D z.Rupe teslifed thathis

reaclingswereffde6nitelyon aconsistentbasiswellabovethe130matk''wllichisabovethe
Am edcan D iabetesA ssociadon gaidelinesrecom m ended fasdng blood sugarreadings.ECF

N o.199-5,at102.D r.M oran'sresponsewasto increase H ixson'sblood suga.
                                                                      rreadingsfrom

once daily to twicedaily.A scliscussed above,D r.Rupeopinesthatthisw asinadequate.She

arguesthatatthispoint,Hixsonshouldhavebeenzeceivinginslllitnitjections,andthatthe
failureto do so caused permanentdamage.LdxDr.M otan'sexpett,Dr.Suaava,disagreesand
statesin herrepottthatthe decision notto adm inisterinslxlitnw asreasonable,given the

vatiable natate ofHixson'sblood sugarreadingsand weightduring hisincarcetadon.ECF

N o.190-9,at3.


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      A sw1t.14deliberate indiffetence,disagreem entsbetween m edicalprofessionalsdo not

sufficetoshow grossnegligence.Justbecauseonemedicalprofessionalclnimstheother
shouldhavedonemorethanhediddoesnotgiverisetoalevelofneglkenceffwlnichshows
indifference to others,disregarding prudenceto the levelthatsafety ofothersiscom pletely

neglected.''Wilb v.Gostel,265Va.437,445,578S.E.2d796,801(2003).W etethisclnim
sounding in otdinary negligence,Hixson m ay havebeen able to arguethatD r.M oran should .




havetaken m ore afflt-madve stepsto m anage hisdiabetes.D r.M ozan,how ever,hasalready

shown heisenétled to sovereign im m unity,which sllieldslnim from m edicalm alpracdce

suitssoundingitlordinaryneglkence.ECF No.166.Hixsonisnow requiredtoshow gross
negligence,am uch highetstandard thathe cannotm eet.

       Thetecord cleatly show sthatD r.M otan took stepsto m onitorH ixson'scondidon.

Virginialaw makesclearthatifdefendantshavetaken ffeven theslightestbitofcareg),
regardlessofhow insufficientorineffecdveitm ay have been,''then therehasbeen no

showingofgrossnegligence.Elliotv.Cm er,292Va.618,621,791S.E.2d730,731(2016).
A ccordingly,the cotzrtGR AN T S them oion and D ISM ISSE S CountII.

                                             V.

       Dr.M oran also arguesthatheisendtled to quav ed immurzityon b0tlzthej1983
cbim and the state m edicalm alpracdce cbim .Thedoctrineofqualified im m unity,a federal

commonlaw preceptapplicablein j1983 cases,sllieldsofhcialdefendantsfrom monetary
liabilityso long astheofficial'sconductdid notviolate ffclearly established''stataztoryor

constM tionaltightsofwllich areasonableperson in the defendant'sposiéon would have

known.Mitchellv.Fors t.
                      h 472U.S.511,526 (1985)9W ellerv.De 'tofSoc.Servs.forCi


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ofBalt.,901F.2d387,398(4thCir.1990).Theprincipleofqualihedimmunityreflectsthe
concern thattheaward ofcivildamagesagainstpublicofhcialsforeveryjudicially-
determ ined violadon ofrightswould discourageindividualsfrom seeking public

em ploym ent,prove deleteriousto thetreasuty,and im paitgovernm entaldecision

m aking.W eller,901 F.2d at398.Thedoctrineofqualiûed im m unity,thezefore,m andates

thatofhcialsffal:enotliable forbad guessesin gray areas,''butinstead are only Tfliablefot

transgeessingbtightlines.''M aciarieEov.Slxmner,973F.2d295,298(4thCir.1992).
       In detet-mining ifa defendantisendtled to qualihed im m unity,thecourtm ustfltst

detezminewhether,taken in thelightm ostfavorable to a plaintiff,the factsaileged allow a

hnding thatthe defendant'sconductviolated thepbintiff'sconstim donalrights.Ifthe

answetto thisisyes,then thecouttm ustconsiderwhethetthisparticulardghtwasffcleatly

established''atthetimeoftheviolaéon.Saucierv.Katz,533U.S.194,201(2001).Asthis
cout'
    thasruled thatD r.M oran did notshow deliberateindifference to H ixson,the & ststep

ofthe aboveanalysism ustbe answered in thenegaéve.Therefore,to theextentthe

detetminadon isrelevant,Dr.Motanisendtledto qualihedimmunityon Hixson'sj1983
clnim .6

                                                 W .

       Forthe above zeasons,H ixson'sclnim sagainstD r.M ozan ate D ISM ISSED .

W ithoutthese substandve underlying clnim s,H-
                                             ixson'sclnim sfozpurzidve dam agesand




6'
 ThequaliEedimm'lnitycalculusisinapplicabletothestate1aw cllim ofgrossnegligence.lohnDoe#1v.Robinson,
No.CIV.A.4:07CV84,2009W.   L435097,at*4(E.D.Va.Feb.20,2009)(citingColb v.Borden,241Va.125,129,400
S.
 E.2d184,186(1991)).


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attozneys'feesaregroundlessand D ISM ISSE D .D efendant'sM odon forSllm m ary

JudgmentisGRANTED.
      An appropriate O tderwillbeentered thisday.




                                       Entered:Tu s
                                                      0236d
                                                          #ay oflanuary,2018

                                  /+/         4            .                   '
                                       M ichaelF. tbanski
                                       Chief      tedStatesDistdctludge




                                         18
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